 Case 23-00623       Doc 762      Filed 02/23/24 Entered 02/23/24 13:50:44             Desc Main
                                   Document     Page 1 of 7



                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF IOWA

                                          )
 In re:                                   )                 Chapter 11
                                          )
 MERCY HOSPITAL, IOWA CITY, IOWA, et al., )                 Case No. 23-00623 (TJC)
                                          )
                     Debtors.             )                 Jointly Administered
                                          )
                                          )                 EXPEDITED RELIEF REQUESTED


DEBTORS’ EXPEDITED MOTION FOR ENTRY OF ORDER REDUCING PERIOD OF
   TIME BETWEEN OBJECTION DEADLINE AND DISCLOSURE STATEMENT
             HEARING PURSUANT TO LOCAL RULE 3017-1

       Mercy Hospital, Iowa City, Iowa (“Mercy”) and certain of its affiliates and subsidiaries, as

debtors and debtors-in-possession in the above-captioned chapter 11 cases (collectively, the

“Debtors”), hereby move (the “Motion”) for entry of an order substantially in the form attached

hereto as Exhibit A (the “Proposed Order”) reducing the 14-day period of time set forth by Rule

3017-1(a) of the Local Rules of Bankruptcy Practice and Procedure (the “Local Rules”). In

support thereof, the Debtors respectfully represent as follows:

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Public Administrative Order referring bankruptcy cases entered by the United

States District Court for the Northern District of Iowa. This is a core proceeding under 28 U.S.C.

§ 157(b). Venue of these cases and the Motion in this District is proper under 28 U.S.C. §§ 1408

and 1409.

       2.      The legal predicates for the relief requested herein are section 105(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 3017 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Local Rule 3017-1.



                                                 1
 Case 23-00623        Doc 762     Filed 02/23/24 Entered 02/23/24 13:50:44             Desc Main
                                   Document     Page 2 of 7



       3.      The Debtors confirm their consent to the entry of a final order by the Court in

connection with the Motion in the event that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

                                         BACKGROUND

I.     The Chapter 11 Cases

       4.      On August 7, 2023 (the “Petition Date”), each of the Debtors commenced a case by

filing a petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Chapter 11 Cases are being jointly administered for procedural purposes only.

       5.      The Debtors continue to operate their businesses and manage their properties as

debtors and debtors-in-possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

       6.      On August 15, 2023, the Office of the United States Trustee for the Northern

District of Iowa (the “U.S. Trustee”) appointed an official committee of unsecured creditors (the

“Committee”) in the Chapter 11 Cases [Docket No. 107]. On November 4, 2023 the U.S. Trustee

appointed an official committee of pensioners (the “Pension Committee”) in the Chapter 11 Cases

[Docket No. 458]. No trustee or examiner has been appointed in the Chapter 11 Cases.

       7.      Additional information regarding the Debtors and these Chapter 11 Cases,

including the Debtors’ business operations, capital structure, financial condition, and the reasons

for and objectives of these Chapter 11 Cases, is set forth in the Declaration of Mark E. Toney in

Support of Chapter 11 Petitions and First Day Pleadings [Docket No. 27].

II.    Formation of the Combined Plan and Disclosure Statement

       8.      For the past few months, the Debtors have been engaged in discussions with

representatives for Computershare Trust Company, N.A. and Preston Hollow Community Capital,



                                                 2
 Case 23-00623        Doc 762     Filed 02/23/24 Entered 02/23/24 13:50:44         Desc Main
                                   Document     Page 3 of 7



Inc. (collectively, the “Bondholders”), the Pension Committee, and the Committee about formation

of a chapter 11 plan of liquidation.

       9.      The Debtors’ Combined Disclosure Statement and Joint Chapter 11 Plan of

Liquidation (the “Combined Plan and Disclosure Statement”) filed contemporaneously with this

Motion reflects the progress of these discussions. While the Combined Plan and Disclosure

Statement is only formally supported by the Bondholders, the Debtors believe the Pension

Committee is in favor of the majority of the Combined Plan and Disclosure Statement. The Debtors

are hopeful that through continuing discussions and negotiations, confirmation of the Combined

Plan and Disclosure Statement can be done on a fully consensual basis.

       10.     The Debtors, in fact, were prepared to file the Combined Plan and Disclosure

Statement last week. However, on request of certain of the parties in interest in this case, the

Debtors withheld filing of the Combined Plan and Disclosure Statement in order to continue

negotiations in an attempt to reach consensus.

III.   Reduction of 14-Day Period under Local Rule 3017-1

       11.     Local Rule 3017-1(a) provides, in part, that “[t]he hearing on approval of the

disclosure statement may take place no earlier than 14 days after the bar date for objections.”

Further, “[a]ny reduction of such periods must be requested of the Court by written motion.”

       12.     Contemporaneously with filing the Combined Plan and Disclosure Statement and

this Motion, the Debtors have also filed a Notice of Bar Date for Objections to the Disclosure

Statement (the “Disclosure Statement Bar Date Notice”). The Disclosure Statement Bar Date

Notice sets Monday, March 25, 2024 as the deadline (the “Objection Deadline”) to object solely

to the adequacy of the disclosure statement portion of the Combined Plan and Disclosure

Statement.



                                                 3
 Case 23-00623       Doc 762      Filed 02/23/24 Entered 02/23/24 13:50:44            Desc Main
                                   Document     Page 4 of 7



        13.    Based on availability of the Court, advisors for the Debtors, and advisors for other

parties in interest, the Debtors believe proceeding with the hearing to consider approval of the

disclosure statement portion of the Combined Plan and Disclosure Statement on Wednesday,

March 27, 2024 (the “Hearing Date”) is in the best interests of the Debtors and their stakeholders.

        14.    Accordingly, the Debtors request that the Court reduce the 14-day period under

Local Rule 3017-1 to 2 days and authorize the Debtors to proceed with a hearing on the sufficiency

of the disclosure statement portion of the Combined Plan and Disclosure Statement on the Hearing

Date.

        15.    Cause exists to shorten the time period under the Local Rule and reduction is

justified by the facts and circumstances of this case. Other matters will be proceeding before the

Court on the Hearing Date and allowing the Debtors to proceed with consideration of the disclosure

statement will help preserve estate resources. Moreover, the Debtors delayed filing the Combined

Plan and Disclosure Statement on request of a party in interest in order to try and reach consensus,

avoid costly litigation, and fast-track these Chapter 11 Cases toward a resolution.

        16.    The Debtors submit that reducing the period of time between the Objection

Deadline and Hearing Date for consideration of the disclosure statement portion of the Combined

Plan and Disclosure Statement is appropriate under the circumstances, and justified by the facts in

these Chapter 11 Cases.

        17.    Accordingly, the Debtors respectfully request that the Court enter the Proposed

Order authorizing the Debtors to shorten the period of time between the Objection Deadline and

Hearing Date and setting the disclosure statement portion of the Combined Plan and Disclosure

Statement for hearing on the Hearing Date.




                                                 4
 Case 23-00623        Doc 762     Filed 02/23/24 Entered 02/23/24 13:50:44          Desc Main
                                   Document     Page 5 of 7



                                             NOTICE

         18.   The Debtors will provide notice of the Motion to: (a) the U.S. Trustee; (b) counsel

for the Committee; (c) counsel for the Pension Committee; (d) the United States Attorney for the

Northern District of Iowa; (e) the Centers for Medicare & Medicaid Services; (f) counsel for the

Master Trustee and Trustee; (g) counsel for the Bondholder Representative; (h) the Federal Trade

Commission; and (j) all parties entitled to notice pursuant to Bankruptcy Rule 2002. The Debtors

submit that no other or further notice is required.

                                     NO PRIOR REQUEST

         19.   No previous request for the relief sought herein has been made to this or any other

court.

                           [Remainder of page intentionally left blank]




                                                  5
 Case 23-00623       Doc 762      Filed 02/23/24 Entered 02/23/24 13:50:44          Desc Main
                                   Document     Page 6 of 7



                                         CONCLUSION

       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

such other and further relief as may be just and proper.


Dated: Cedar Rapids, Iowa                     NYEMASTER GOODE, P.C.
       February 23, 2024
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                                                 6
 Case 23-00623       Doc 762     Filed 02/23/24 Entered 02/23/24 13:50:44           Desc Main
                                  Document     Page 7 of 7




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                                             Counsel for Debtors and Debtors-in-Possession




                                CERTIFICATE OF SERVICE

        The undersigned certifies, under penalty of perjury, that on this February 23, 2024, the
foregoing document was electronically filed with the Clerk of Court using the Northern District of
Iowa CM/ECF and the document was served electronically through the CM/ECF system to the
parties of the Chapter 11 Cases.


                                             /s/ Roy Leaf




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